From:             Murphy, Lindsay M. (CIV)
To:               "Ramya Krishnan"; "Noam Biale"; "Alexander A Abdo"; "Alexandra Conlon"; "Courtney Gans"; "Jameel Jaffer";
                  "Michael Tremonte"; "Scott Wilkens"; "Xiangnong Wang"; "Talya R Nevins"; "Jackson Busch"
Cc:               Busen, Jesse (CIV); Hennes, Stefanie (CIV); Kanellis, William G. (CIV); Kanter, Ethan (CIV); Moss, Benjamin M.
                  (CIV); Santora, Victoria M (CIV); Stone, Paul (CIV); Strokus, Jessica D. (CIV); Yen, Shawna (USAMA)
Subject:          RE: AAUP: Position on Motion to Seal Portion of AR Supplement
Date:             Friday, June 13, 2025 5:59:00 PM
Attachments:      AAUP Responses to Plaintiffs First Set of Requests for Production FINAL.pdf
                  AAUP v. Rubio Defendants Prod Vol 01_6.13.25.pdf
                  image001.jpg



Thanks, Noam and Ramya. And sorry for leaving some of your team members off my prior
message. Attached, please find Defendants’ responses and objections to your requests for
production along with associated documents. We are still finalizing our responses to your
ROGs and will have those to you as soon as possible, but likely not before Monday.
We are still waiting on agency approval to file one remaining document under seal. Because
the document is law enforcement sensitive, the agency is not comfortable producing it
without a protective order in place. So, we will be delayed in getting this document to you.
Best,
Lindsay
From: Ramya Krishnan
Sent: Friday, June 13, 2025 3:39 PM
To: Noam Biale ; Murphy, Lindsay M. (CIV) ; Alexander A Abdo ; Alexandra Conlon ; Courtney Gans ;
Jameel Jaffer ; Michael Tremonte ; Scott Wilkens ; Xiangnong Wang ; Talya R Nevins ; Jackson Busch
Cc: Busen, Jesse (CIV) ; Hennes, Stefanie (CIV) ; Kanellis, William G. (CIV) ; Kanter, Ethan (CIV) ; Moss,
Benjamin M. (CIV) ; Santora, Victoria M (CIV) ; Stone, Paul (CIV) ; Strokus, Jessica D. (CIV) ; Yen,
Shawna (USAMA)
Subject: [EXTERNAL] Re: AAUP: Position on Motion to Seal Portion of AR Supplement
Hi Lindsay, just adding a few more lawyers from our team to this chain.
Ramya
From: Noam Biale <NBiale@shertremonte.com>
Date: Friday, June 13, 2025 at 2:40 PM
To: Murphy, Lindsay M. (CIV) <Lindsay.M.Murphy@usdoj.gov>, Alexander A Abdo
<alex.abdo@knightcolumbia.org>, Alexandra Conlon <Aconlon@shertremonte.com>,
Courtney Gans <CGans@shertremonte.com>, Jameel Jaffer
<jameel.jaffer@knightcolumbia.org>, Michael Tremonte
<MTremonte@shertremonte.com>, Ramya Krishnan
<ramya.krishnan@knightcolumbia.org>, Scott Wilkens
<scott.wilkens@knightcolumbia.org>
Cc: Busen, Jesse (CIV) <Jesse.Busen@usdoj.gov>, Hennes, Stefanie (CIV)
<Stefanie.Hennes@usdoj.gov>, Kanellis, William G. (CIV)
<William.G.Kanellis@usdoj.gov>, Kanter, Ethan (CIV) <Ethan.Kanter@usdoj.gov>, Moss,
Benjamin M. (CIV) <Benjamin.M.Moss2@usdoj.gov>, Santora, Victoria M (CIV)
<Victoria.M.Santora@usdoj.gov>, Stone, Paul (CIV) <Paul.F.Stone@usdoj.gov>, Strokus,
Jessica D. (CIV) <Jessica.D.Strokus@usdoj.gov>, Yen, Shawna (USAMA)
<Shawna.Yen@usdoj.gov>
Subject: Re: AAUP: Position on Motion to Seal Portion of AR Supplement
Hi Lind say, No o bj ection . Can you gi ve us a se nse of th e vo lu me of docu me nts yo u’ll be d isc lo sin g? N oam No am Bi ale 9 0 Bro ad Stre et, 23 rd Floor | New Y ork, N Y 1 000 4 te l: 2 12. 30 0.24 45 | fa x: 212 .20 2.41 56 nb iale@ she rtrem ont e.co m w ww .she rtrem ont e.co m
ZjQc mQRY Fpfp tBann erS tart




                                          This Message Is From an External Sender
                                          This message came from outside your organization.
ZjQc mQRY Fpfp tBann erE nd




Hi Lindsay,
No objection. Can you give us a sense of the volume of documents you’ll be disclosing?
Noam
                  signatureImage                                                                                                                                                                                                                                                                         Noam Biale
                                                                                                                                                                                                                                                                                                         90 Broad Street, 23rd Floor | New York, NY 10004
                                                                                                                                                                                                                                                                                                         tel: 212.300.2445 | fax: 212.202.4156
                                                                                                                                                                                                                                                                                                         nbiale@shertremonte.com
                                                                                                                                                                                                                                                                                                         www.shertremonte.com


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From: Murphy, Lindsay M. (CIV) <Lindsay.M.Murphy@usdoj.gov>
Sent: Friday, June 13, 2025 2:09:39 PM
To: Alexander A Abdo <alex.abdo@knightcolumbia.org>; Alexandra Conlon
<Aconlon@shertremonte.com>; Courtney Gans <CGans@shertremonte.com>; jameel.jaffer
<jameel.jaffer@knightcolumbia.org>; Michael Tremonte <MTremonte@shertremonte.com>; Noam
Biale <NBiale@shertremonte.com>; Ramya Krishnan <ramya.krishnan@knightcolumbia.org>;
scott.wilkens <scott.wilkens@knightcolumbia.org>
Cc: Busen, Jesse (CIV) <Jesse.Busen@usdoj.gov>; Hennes, Stefanie (CIV)
<Stefanie.Hennes@usdoj.gov>; Kanellis, William G. (CIV) <William.G.Kanellis@usdoj.gov>; Kanter,
Ethan (CIV) <Ethan.Kanter@usdoj.gov>; Moss, Benjamin M. (CIV) <Benjamin.M.Moss2@usdoj.gov>;
Santora, Victoria M (CIV) <Victoria.M.Santora@usdoj.gov>; Stone, Paul (CIV)
<Paul.F.Stone@usdoj.gov>; Strokus, Jessica D. (CIV) <Jessica.D.Strokus@usdoj.gov>; Yen, Shawna
(USAMA) <Shawna.Yen@usdoj.gov>
Subject: AAUP: Position on Motion to Seal Portion of AR Supplement
Hi Noam,
We’re finalizing our RFP responses and objections and should have them to you shortly.
We also have some additional documents to share. Because at least one of the
documents is law enforcement sensitive and non-public facing, and a general protective
order has yet to be entered, we’d like to submit it as a sealed supplement to the AR so
that it cannot be shared outside of this litigation. We’re still evaluating two other
documents to determine if they should be sealed as well. Do Plaintiffs have any
objection to our motion to submit these documents under seal?
Thanks,
Lindsay
